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   16
                            UNITED STATES DISTRICT COURT
   17                      CENTRAL DISTRICT OF CALIFORNIA
   18                             EASTERN DIVISION
   19

   20 HAYLEY CHARMAINE TICE,                     CASE NO.: 5:19-CV-01311-SVW-KK
      individually and on behalf of a class of
   21 similarly situated individuals,            PLAINTIFF’S MEMORANDUM OF
   22                                            LAW IN OPPOSITION TO
                     Plaintiff,                  DEFENDANTS’ MOTION TO
   23                                            COMPEL ARBITRATION AND
              vs.
   24                                            DISMISS PLAINTIFF’S CLAIMS
   25
        AMAZON.COM INC.,
                                                 Date:       November 18, 2019
   26                Defendants.                 Time:       1:30 pm
                                                 Judge:      Stephen V. Wilson
   27                                            Ctrm:       10A
   28                                            Trial Date: None
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   27

   28


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    1   I.    INTRODUCTION/ARGUMENT SUMMARY
    2
              Plaintiff Hayley Tice never purchased or registered the Amazon Alexa device
    3
        her husband purchased and registered. She also never read, signed, or otherwise
    4
        agreed to Amazon’s unilateral and adhesive terms and conditions of use and
    5
        arbitration agreement specific to the use of Alexa devices by Alexa purchasers and
    6
        registrants, and never consented to Amazon’s unannounced and criminal illegal
    7
        recording and storage of her voice and communications. Amazon surreptitiously and
    8
        illegally recorded Plaintiff and adult California residents who live or work in or visit
    9
        households where an Amazon Alexa device is installed, even when these residents
   10
        did not use the devices by speaking the magic “Alexa” activation wake word. As
   11
        such, Amazon’s adhesive arbitration agreement simply does not apply by its own
   12
        express terms.
   13
              Amazon fundamentally and deliberately mischaracterizes the claims of
   14
        Plaintiff and the other Class Members in its desperate, highly novel, unprecedented,
   15
        unwarranted, and inequitable effort to shoehorn this case into arbitration knowing
   16
        that Plaintiff and the Class Members are not, and were not, subject to Amazon’s
   17
        adhesive Alexa-specific conditions of use and arbitration agreement. Amazon’s
   18
        intent to deprive Plaintiff of her constitutionally protected right to a trial by jury
   19
        based on a provision in a contract to which she never read, signed, or agreed to and
   20
        which does not by its own terms apply to her claims is nothing short of specious and
   21
        its motion to compel arbitration should accordingly be denied.
   22
        II.   FACTS/PROCEDURAL HISTORY
   23
              As Plaintiff outlined in her opposition to Amazon’s request for discovery and
   24
        motion for a stay, the relatively simple facts giving rise to this lawsuit are laid out in
   25
        Plaintiff’s Class Action Complaint. To again very briefly summarize, Plaintiff’s
   26
        husband purchased an Amazon “Alexa” device and registered it with Amazon
   27
        thereby allegedly agreeing to unilateral and adhesive terms and conditions in an
   28

                                                    1
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    1   Alexa-specific agreement, one of which was that he agreed to arbitrate claims he had
    2   relating to his use of the device. Complaint (“Compl.”) at ¶ 27, Dkt. No. 1. To use
    3 the Alexa app, a person must have a registered Amazon Alexa account and set-up

    4 the device which entails pairing the device with the app. After the device is paired

    5 with the app, it is ready to be used by anyone – not just the person who purchased

    6 the device and has a registered Amazon Alexa account. Alexa also recognizes the

    7 voices of others in a household or other building with an Alexa device who

    8 purchased and registered their own Alexa devices in their own households or other

    9 buildings. In other words, any single Alexa device, regardless of location, can

   10 recognize the voice of a registered Alexa user. And any single Alexa device can

   11 also be used by persons who do not have their own registered Alexa device.

   12            Plaintiff never saw or read the Amazon arbitration agreement pertaining to
   13 her husband’s purchase and registration of his Alexa device, never signed it, and

   14 never agreed to it. During the meet and confer process, Amazon admitted that it did

   15 not have Plaintiff’s name on its Amazon Alexa registration list. The adhesive Alexa-

   16 specific arbitration agreement also did not state anywhere that Plaintiff or any other

   17
        nonsignator was bound by Amazon’s agreement to arbitrate. Compl. at ¶ 16, Dkt.
   18
        No. 1.
   19
                 Alexa is a voice-activated device that constantly listens in the owner’s home
   20
        for a “wake word” which is set by default to “Alexa.” If someone decides to use the
   21
        device and says the wake word, the device starts recording the user’s voice and
   22
        uploads the recording to Amazon’s Alexa Cloud. Amazon states that the device can
   23
        detect a user speaking the wake word from across the room. In fact, Alexa can detect
   24
        a user speaking or engaging in conduct in another room behind a closed door.
   25
        Compl. at ¶ 13 Dkt. No. 1.
   26
                 An Alexa device records and permanently stores the voices and
   27
        communications of: (1) persons “using” the device – whether or not the Alexa
   28
        owner/account holder; (2) persons talking in the background while someone is using

                                                   2
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    1   the device; and (3) persons in a household even when the device has not been
    2   activated and is not being used apparently so Amazon can illegally eavesdrop on
    3   persons in a home and create profiles to commercially use and sell.1 It is important
    4 to note that Amazon has never denied in this lawsuit, or any other lawsuit involving

    5 its Alexa devices, that Alexa devices record and store the voices and

    6 communications of persons speaking in the background while someone converses

    7 with Alexa after activating it. It has also never denied that Alexa devices sometimes

    8 record the voices and communications of those in a household even when no one

    9 has activated the devices.

   10            Plaintiff alleges that Amazon’s recording and storage of her voice and
   11 communications without her consent in all three of the above scenarios violated the

   12 California Invasion of Privacy Act, Cal. Penal Code § 630, et seq. (“CIPA”) and her

   13 common law right to be free from unlawful invasions of privacy. Compl. at ¶¶ 49

   14 & 57, Dkt. 12 Plaintiff further alleges that these illegal recordings also violated the

   15

   16
       A person “uses” an Alexa device when the person speaks the wake word to activate
        1

   17 the device and then asks it a question – e.g., “Alexa, what is the temperature
   18 outside?” – or gives it a command – e.g., “Alexa, turn up the thermostat two
      degrees.” Amazon has never contended, nor could it ever credibly contend, that
   19 persons “use” an Alexa device when they are recorded but never activated the device

   20 with the wake word.

   21   2
            For the Court’s reference, Section 632 (a) of the CIPA reads:
   22         (a) A person who, intentionally and without the consent of all parties to a
   23
              confidential communication, uses an electronic amplifying or recording
              device to eavesdrop upon or record the confidential communication, whether
   24         the communication is carried on among the parties in the presence of one
   25
              another or by means of a telegraph, telephone, or other device, except a radio,
              shall be punished by a fine not exceeding two thousand five hundred dollars
   26         ($2,500) per violation, or imprisonment in a county jail not exceeding one
   27
              year, or in the state prison, or by both that fine and imprisonment. If the
              person has previously been convicted of a violation of this section or Section
   28         631, 632.5, 632.6, 632.7, or 636, the person shall be punished by a fine not
              exceeding ten thousand dollars ($10,000) per violation, by imprisonment in
                                                    3
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    1   California Unfair Competitions Law, Cal. Bus. & Prof. Code § 17200, et seq.
    2   (“UCL”) that prohibits any “unlawful, unfair or fraudulent business act or practice.”
    3   Compl. at ¶¶ 52 & 53. Amazon’s illegal recording and storage of the voices and
    4   communications of Plaintiff and the Class Members was an unlawful and unfair
    5   business practice.
    6            The pertinent procedural history of this matter is briefly as follows. After
    7   Plaintiff served and filed her Class Action Complaint, the parties conferred over the
    8   issue of Amazon’s request for the email addresses of Plaintiff and her husband.
    9   Amazon filed with the Court a request for these email addresses that Plaintiff
   10 opposed on various grounds included relevancy. Dkt. No. 37. The Court correctly

   11 denied Amazon’s request for discovery of these email addresses agreeing with

   12   Plaintiff that “[a]t this stage of the proceedings, Defendants’ requested discovery is
   13   not relevant to Plaintiff’s legal and factual allegations.”3 Dkt. No. 40.
   14   III.     ARGUMENT
   15
                 A.    Amazon Has No Right to Compel Plaintiff to Arbitrate Her Claims
   16                  Because Amazon’s Arbitration Agreement Does Not By its Own
   17                  Terms Apply to Plaintiff’s Claims Regarding Amazon’s Illegal
                       Recording of Her Voice and Communications When She Did Not
   18                  Use Her Husband’s Alexa Device.
   19
                 In trying to compel Plaintiff to arbitrate her claims over Amazon’s illegal
   20
        conduct, Amazon fundamentally and deliberately mischaracterizes the claims of
   21
        Plaintiff and the Class Members. Amazon repeatedly contends in the instant motion,
   22
        and also contended in its prior request for discovery, that Plaintiff is only alleging
   23

   24          a county jail not exceeding one year, or in the state prison, or by both that
               fine and imprisonment.
   25
        3
   26   For months, Amazon’s counsel requested Plaintiff’s and her husband’s email
      addresses claiming that “it could not possibly determine these.” It told the Court the
   27
      same thing in its prior request for discovery. Dkt. No. 37. And then, via a modern
   28 day miracle, Amazon suddenly identified these email addresses “through its own
      investigation” right after the Court refused to order Plaintiff to provide them.
                                                    4
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     1   that she was illegally recorded when she “used” her husband’s Alexa device and that
     2   Amazon’s conditions of use and arbitration agreement – that apply expressly and
     3   solely to claims arising out of the “use” on its Alexa devices - compels her to arbitrate
     4 her claims in this action. While Plaintiff is not required to arbitrate her claims

     5 pertaining to her use of her husband’s Alexa device since she never saw, read,

     6 signed, or otherwise agreed to the arbitration agreement as discussed further herein,

     7   there can be no question that she cannot be compelled to arbitrate her claims arising
     8 from when she did not use the device.

     9         Not only does Amazon fail to address this point and the undisputed fact that
    10   its Alexa device illegally recorded Plaintiff when she did not use the device, but it
    11   goes even further and deliberately tries to mislead the Court into believing that
    12   Plaintiff has not alleged such claims. In a remarkable lack of candor, Amazon
    13   contends that Plaintiff only alleged that her husband’s Alexa device unlawfully
    14   recorded her when she activated it with the wake word and used the device. This is
    15   unequivocally false and Amazon knows it. As outlined above, Plaintiff and the Class
    16   Members are claiming their voices and communications were also recorded without
    17
         their consent even when they were not “using” Alexa devices – namely: (1) when
    18
         the Alexa owners/accountholders, or others, used the devices and the voices/
    19
         communications of Plaintiff and the Class Members were recorded in the
    20
         background; and (2) when Amazon periodically recorded their voices/
    21
         communications even when the Alexa devices were not activated as Amazon
    22
         periodically does when it eavesdrops on persons in houses with Alexa devices.
    23
               Accordingly, even if the Court were to determine that Plaintiff consented to
    24
         the recording of her voice and agreed to arbitrate her claims relating to when she
    25
         used the Alexa device – which she vehemently does not concede – that would not in
    26
         any way require Plaintiff to arbitrate her claims regarding the recording and storage
    27

    28


                                                    5
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     1   of her voice and communications when she did not use the device.4
     2         Amazon’s deliberate deception in mischaracterizing Plaintiff’s claims is
     3 abundantly clear when the Court sees that Amazon cited ¶¶ 27, 28, 29, 31 and 32 of

     4 Plaintiff’s Complaint in its prior Memorandum in support of its request for discovery

     5 but conveniently failed to cite ¶ 30 in which Plaintiff specifically alleged that she

     6 was not aware that the Alexa Device recorded her voice and communications “even

     7 when someone else in the household activated the Device with a wake work but the

     8 Device could also hear [her] voice and communications in the background.”5 Dkt.

     9 37.

    10         Amazon’s process for committing users to its conditions of use obviously do
    11   not even come into play when adults are unlawfully recorded when not using the
    12   device. While there is an issue of the enforceability of "clickwrap" and "sign-up
    13   wrap" agreements under California law, this should not matter at all here where the
    14   Amazon arbitration agreement at issue does not apply by its own express terms to
    15   the claims at issue in this case. Moreover, Amazon goes to great length to explain
    16   the checkout flow it imposes when a consumer orders a book from Amazon. Why
    17
         then is there no similar checkout flow to get consent actively or affirmatively from
    18

    19   In fact, Amazon relies for its motion to compel arbitration on its adhesive
         4

    20 arbitration agreement in its conditions of “use” and terms of “use.” These terms and
       conditions of “use” and the arbitration agreement do not, therefore, apply to claims
    21 regarding illegal Alexa recordings of persons not using an Alexa device.

    22
         5
    23
           Amazon also disregards Paragraph 14 of the Complaint wherein Plaintiff expressly
         alleged that Alexa is constantly listening to voices and communications of persons
    24   in a household with an Alexa device, that the device sometimes records these voices
    25
         and communications even without prompting by a wake word, and that the persons
         in the household have no way of knowing that Alexa is recording them. As Plaintiff
    26   previously noted, just a few of many examples where this occurred is where Class
    27
         Members merely lived in a household with an Alexa device, worked in such a
         household (e.g., as a maid, nanny, contractor), or just visited a household with such
    28   a device and were unknowingly recorded.

                                                  6
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     1   each distinct voice Alexa records when persons are recorded when not using the
     2   device? Since Amazon records and stores the voices of its registered Alexa account
     3   holders, its Alexa devices could be programmed not to record the voices or anyone
     4   else it hears at any time who did not consent to be recorded.
     5         Amazon argues that the Alexa account holders assent to its arbitration
     6 agreement when they activate their devices by registering the Alexa app. Plaintiff

     7 does not dispute this. Rather, she notes that she and the Class Members were not the

     8 Alexa account holders. Similarly, Amazon notes that its conditions of use provisions

     9 state that: "If you do not accept the terms of this Agreement, you may not use Alexa."

    10 Once again, Plaintiff has claimed that an Alexa device unlawfully recorded her when

    11 she did not use it and the Class Members have identical claims.

    12         Plaintiff addresses in more detail in Argument Sections III and IV infra
    13   Amazon’s argument that “equitable estoppel” principles should require that Plaintiff
    14   arbitrate her claims. Amazon alleges that Plaintiff and the Class Members are
    15   equitably prevented from benefitting “from the use” of Alexa while denying the
    16   alleged obligation to arbitrate. Suffice it to say, the obvious and fundamental logical
    17
         flaw in this argument is that even if the Court decided that Plaintiff benefitted from
    18
         her use of her husband’s Alexa device when she used it, she plainly did not benefit
    19
         from the device when her voice and communications were recorded and stored when
    20
         she did not use the device. Hence, Amazon’s equitable estoppel argument does not
    21
         and cannot work to compel her to arbitrate her claims.6
    22

    23
        Amazon’s counsel actually conceded in his oral argument on the motion to compel
         6

    24 arbitration in the Washington B.F. case that Amazon’s equitable estoppel argument

    25
       does not apply to a subset of the Class Members in this case – namely persons
       recorded by Alexa devices who are not members of a household:
    26

    27
               [A]nd your rule has to apply to anyone who walks into the
               house. Okay. I would say that the person who walks into the house is
    28         not the same sort of direct recipient of a benefit as a household member
               for whom the device was procured, who uses it regularly, and could not
                                                   7
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     1         Based on the foregoing argument, the Court can simply end its consideration
     2   of Amazon’s motion to compel arbitration right here given that it is clear Plaintiff
     3   has pled a claim not even covered by the express terms of Amazon’s Alexa-specific
     4   arbitration agreement.7 The following Sections describe yet additional reasons why
     5   the Court should deny Amazon’s motion to compel arbitration.
     6         B.     California – Not Washington – Law Applies to the Issues Here, But
     7                Even if Washington Law Applies, as a Nonsignator to Amazon’s
                      Arbitration Agreement, Plaintiff is Not Required to Arbitrate her
     8                Claims.
     9
               Plaintiff addresses the issue of the applicable state law that Amazon very
    10
         cryptically argues in its Memorandum at page 9, but notes at the outset that it actually
    11
         does not matter whether California law or Washington law applies because
    12
         Amazon’s arbitration agreement, by its own express terms, simply does not apply at
    13
         all to claims Plaintiff and the Class Members have as discussed above. Moreover,
    14
         as discussed herein, Amazon cannot compel Plaintiff to arbitrate her claims based
    15
         upon the illegal recording of her voice and communications even when she used her
    16
         husband’s Alexa device. Amazon is incorrect to assume that Washington law
    17
         applies to this issue. Because Plaintiff is not a signatory to the Alexa-specific
    18
         conditions of use and arbitration agreement, the arbitration agreement does not apply
    19

    20         otherwise use it but for the agreement.
    21 B.F. v. Amazon, No. 19-cv-00910, Verbatim Report of Proceedings, Dkt. 77, at 30
    22 (Oct. 17, 2019).

    23   7
           It is because Amazon recognizes this fatal problem with its motion to compel
    24   arbitration – and its defense to the merits - that it refused to give Plaintiff’s counsel
         the information and records Plaintiff could use to definitively prove that her voice
    25
         and communications were recoded when she was not using her husband’s Alexa
    26   device. Amazon has refused to produce these recordings in its responses to
         Plaintiff’s written discovery requests because it knows full well that they will show
    27
         this and not only fatally undermine its motion to compel arbitration, but also prove
    28   its liability on the merits of the CIPA claims of Plaintiff and the Class Members.

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     1   to her claims in the instant dispute. There is no justification, and Amazon cites to
     2   no support, for applying a contractual choice of law provision from a contract which
     3   one party either did not read, sign or agree to or which does not apply to the dispute
     4   at issue.
     5          Second, even if Amazon’s adhesive conditions of use and arbitration
     6 agreement were to apply, the contractual choice of law Amazon sets forth in its

     7 contract is unenforceable in this context. As Amazon acknowledges, California has

     8 adopted the restatement approach to resolving conflict of law issues of this type.

     9 Nedlloyd Lines B.V. v. Superior Court, 3 Cal. 4th 459, 464-65 (1992). Nedlloyd

    10 makes clear that contractual choice of law clauses are unenforceable when:

    11          the chosen state's law is contrary to a fundamental policy of California.
    12          If there is no such conflict, the court shall enforce the parties' choice of
                law. If, however, there is a fundamental conflict with California law,
    13          the court must then determine whether California has a materially
    14          greater interest than the chosen state in the determination of the
                particular issue.... If California has a materially greater interest than the
    15          chosen state, the choice of law shall not be enforced, for the obvious
    16          reason that in such circumstance we will decline to enforce a law
                contrary to this state's fundamental policy.
    17

    18   Id. (emphasis in original).

    19          Here, such a conflict of law exists, and California’s interest in applying its law

    20   materially outweighs Washington’s interest. The conflict is apparent in multiple

    21   respects. First, the CIPA is more inclusive in its scope and therefore more favorable

    22   to Plaintiff and the California Class Members with regard to the liability of Amazon

    23   for its illegal recordings with its Alexa devices. As just one example, Washington’s

    24   statute, Wash. Rev. Code Ann. § 9.73.030, only prohibits the recording of oral

    25 “conversations.” State v. Smith, 189 Wash.2d 655, 663 (2017). The CIPA, on the

    26 other hand, is broader and applies to and prohibits the recording of communications

    27 which encompasses “acts” including sexual conduct between persons.

    28          Second, the CIPA is considerably more favorable to Plaintiff and the Class

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     1   Members with regard to the relief available for the unlawful recording and storage
     2   of voices and communications. Section 632 of the CIPA, combined with the UCL,
     3   alleged in Plaintiff’s Complaint, allows for the recovery of injunctive relief, statutory
     4   damages of the greater of either $5,000 or three times the amount of actual damages
     5   sustained, punitive damages, and attorneys fees and costs. Cal. Penal Code § 637.2;
     6   Cal. Civil Code § 3294(a). In contrast, under Washington law, Plaintiff and the Class
     7   Members would be limited to statutory damages of $1,000, and do not appear to be
     8   entitled to putative damages or injunctive relief. See Wash. Rev. Code Ann. §
     9   9.73.060. These differences are material and affect the ability of Plaintiff and the
    10   Class Members to receive meaningful relief, and changes to Amazon’s behavior.
    11   See In re Yahoo Mail Litig., 308 F.R.D. 577, 602–03 (N.D. Cal. 2015) (applying
    12   California law upon finding material differences between privacy laws of the states).
    13         Third, there is no question that a conflict exists based upon a fundamental
    14 policy of California. Courts have repeatedly noted California’s very strong interest

    15 in protecting the privacy of its citizens via Section 632 of the CIPA. Kearney v.

    16 Salomon Smith Barney, Inc., 39 Cal. 4th 95, 125, 137 P.3d 914, 934 (2006) (applying

    17
         California law, emphasizing the importance of “vigorously” enforcing Section 632
    18
         to effectuate the Legislature's “strong and continuing interest” in protecting “‘the
    19
         right of privacy of the people of this state); Flanagan v. Flanagan, 27 Cal. 4th 766,
    20
         774, 41 P.3d 575, 581 (2002) (Section 632 was enacted to address a “serious threat
    21
         to the free exercise of personal liberties that cannot be tolerated in a free and civilized
    22
         society.”).
    23
                 Finally, there can be no question that California has an obvious materially
    24
         greater interest in determining the very important privacy right issues in this lawsuit
    25
         given that Plaintiff and all the Class Members reside in California. As the Ninth
    26
         Circuit has made clear, each state “has an interest in applying its law to transactions
    27
         within its borders.” Mazza v. Am. Honda Motor Co., 666 F.3d 581, 593 (9th Cir.
    28
         2012). Moreover, all the Alexa devices at issue were in California and all the illegal

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     1   Alexa recordings occurred in California. The Court should, therefore, decline to
     2   enforce Amazon’s choice of law clause requiring the application of Washington law.
     3                1.    Plaintiff is a Non-Signatory and Her “Use” of Her Husband’s
     4                      Alexa Device is Not Subject to Amazon’s Conditions of Use and
                            Arbitration Agreement under California Law.
     5

     6         Amazon points out, correctly, that “Plaintiff’s husband agreed to the Amazon
     7   conditions of use and Alexa Terms.” Def. Mtn. at 1, 3-7, 10, 12, Dkt. 43 (emphasis
     8   added). But Plaintiff herself never agreed to the Alexa terms and conditions of use.
     9   She was not a registered Alexa account holder and Amazon never warned her that
    10   her voice and communications were being recorded by the Alexa device. Plaintiff
    11   also never consented to the recording, storage, review/analysis, or use of her voice
    12   and communications.” Compl. at ¶ 31. Nor was she the purchaser of the Alexa
    13   device at issue. See id. ¶ 27 (Alexa device purchased and registered by husband).
    14   Thus, Plaintiff is not, and never was, a party to the Alexa conditions of use,
    15   including the arbitration agreement contained therein, and she did not agree that her
    16   use of the Alexa Device was subject to these terms of the conditions of use. See,
    17   e.g., Asfaw v. Lowe’s HIW, Inc., No. 14-cv-00697, 2014 WL 1928612, at *3 (C.D.
    18   Cal. May 13, 2014) (“the essential elements of a contract, i.e., (1) parties capable
    19   of contracting; (2) their consent; (3) a lawful object; and (4) a sufficient cause or
    20   consideration.”); Corbis Corp. v. Integrity Wealth Mgmt., Inc., No. C09-708MJP,
    21   2009 WL 3835976, at *1 (W.D. Wash. Nov. 16, 2009) (“The necessary elements of
    22   contract formation are: (1) offer, (2) acceptance, (3) competent parties, (4) legal
    23   subject matter and (5) consideration.”). Simply put, Plaintiff never saw or accepted
    24   the Alexa conditions of use and arbitration agreement. Thus, while disputes
    25   between Plaintiff’s husband and Amazon may fall within the scope of the Alexa
    26   terms, disputes between Plaintiff and Amazon do not. Mundi v. Union Sec. Life Ins.
    27   Co., 555 F.3d 1042, 1045 (9th Cir. 2009) (“The face of the contract accordingly
    28


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     1   indicates that this dispute ‘is not within the scope of the arbitration provision.’”)
     2   (citation omitted).
     3         Amazon fares no better when considering whether Plaintiff’s claims are
     4   subject to the Alexa-specific conditions of use and arbitration agreement she agreed
     5   to arbitration agreements when making wholly unrelated purchases via Amazon’s
     6   website. In the cases relied on by Amazon, the plaintiffs compelled to arbitrate their
     7   claims were the actual customers who purchased from Amazon the products at issue
     8   and sought damages related to those purchase transactions. McKee v. Audible, Inc.,
     9   No. 17-cv-1941, 2017 WL 4685039, at *1 (C.D. Cal. July 17, 2017); Fagerstrom v.
    10   Amazon.com, Inc., 141 F. Supp. 3d 1051, 1057 (S.D. Cal. 2015), aff’d sub nom.
    11   Wiseley v. Amazon.com, Inc., 709 F. App’x 862 (9th Cir. 2017); Ekin v. Amazon
    12   Servs., LLC, 84 F. Supp. 3d 1172, 1173-74 (W.D. Wash. 2014); see also Peters v.
    13   Amazon Servs. LLC, 2 F. Supp. 3d 1165, 1169 (W.D. Wash. 2013), aff’d, 669 F.
    14   App’x 487 (9th Cir. 2016) (third-party seller brought contractual claim related to
    15   products it directly sold through Amazon). And in Payne v. Amazon.com, the
    16   plaintiffs, though not signatories to the arbitration agreement, “br[ought] a breach
    17   of warranty claim that rest[ed] on the contract between Payne and Amazon.” No.
    18   17-cv-2313, 2018 WL 4489275, at *7 (D.S.C. July 25, 2018).8
    19         Plaintiff’s claims bear no relationship to the conditions of use that she
    20   allegedly agreed to when she made wholly unrelated purchases of other products
    21   through Amazon’s website. Instead, Plaintiff has asserted statutory claims arising
    22

    23
         8
           The Ninth Circuit just made clear again last month that it is not hesitant to find
         unenforceable arbitration agreements with nonsignatories. See Velasquez-Reyes v.
    24   Samsung Electronics America, Inc., 777 Fed.Appx. 241, 241 (Mem) (9th Cir. 2019)
    25   (unpublished opinion) (finding arbitration agreement in booklet with vague terms
         insufficient to compel nonsignatory to arbitrate claims). The Ninth Circuit cited
    26   another of its decisions from 2017, Norcia v. Samsung Telecomms. Am., LLC, 845
    27   F.3d 1279 (9th Cir. 2017), that foreclosed Samsung’s argument that California courts
         have adopted the “in-the box” theory of assent and that the “in-the-box” theory
    28   would apply in the circumstances of that case. Id. at 1287-90.

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     1   from Amazon’s violations of the CIPA and UCL, as well as a common law tort
     2   claim for invasion of her right to privacy all of which arose from a product and
     3   service that Plaintiff did not purchase or for which she did not sign up. Her claims,
     4   do not, and simply cannot, therefore, rest on the terms of the Alexa-specific
     5   conditions of use.9
     6            “Amazon has become an integral part of day-to-day consumer behavior.”
     7   2019 Amazon Consumer Behavior Report (“Consumer Report”) at 5. In a survey,
     8   92% of respondents reported purchasing an item from Amazon. NPR/Marist
     9   Pollhttp://maristpoll.marist.edu/wpcontent/misc/usapolls/us180423_NPR/NPR_M
    10   arist%20Poll_Tables%20of%20Questions_May%202018.pdf#page=2 at 13. At the
    11   same time, an Amazon executive recently revealed that Amazon has sold more than
    12   100 million Alexa devices.10 The devices are found in at least 15 percent of
    13 American households.11 Applying Amazon’s logic to these figures, over 200

    14   million12 people have waived their Rule 23 rights and agreed to arbitration regarding
    15 a device that listens and records communications in homes across the United States,

    16 without ever purchasing an Alexa device or reviewing the Alexa-specific terms and

    17
         9
             The claims that arise from her voice being recorded and permanently stored (1)
    18 “when someone else in the household activated the Device” or (2) “without any

    19 prompting by a wake work …[with] no way of knowing that Alexa is recording
         them,” by a service neither purchased nor agreed to, cannot be the meaning of “use”
    20 that was contemplated by the parties. Holding otherwise would have far reaching

    21 results drastically curtailing the rights of American consumers.

    22   10
          https://www.theverge.com/2019/1/4/18168565/amazon-alexa-devices-how-
    23 many-sold-number-100-million-dave-limp (last accessed Oct. 21, 2019).
       11
    24    Based on reporting that 26.2 percent of households use smart speakers, with
       Amazon holding between 61 and 70 percent of that market share.
    25 https://techcrunch.com/2019/03/08/over-a-quarter-of-u-s-adults-now-own-a-

    26 smart-speaker-typically-an-amazon-echo/ (last accessed Oct. 21, 2019).

    27   12
         Applying survey results to estimated U.S. adult population of 250 million people.
    28 https://census.gov/quickfacts/fact/table/US/PST045218 (last accessed Oct. 21,
       2019).
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     1   conditions of use, simply by virtue of buying some other unrelated product from
     2   Amazon at an unspecified point in time – including even years before Alexa was
     3   invented.
     4         Amazon’s argument is also illogical insofar as Amazon requires assent to its
     5   adhesive Alexa-specific arbitration agreement every time an account holder
     6   purchases a product from its site. If, as Amazon alleges, a single purchase binds a
     7   consumer to arbitrate claims relating to all future products the consumer purchases,
     8   there would be no need to require the consumer to agree to the arbitration agreement
     9   with every purchase. The very first time consumers agreed to the arbitration
    10   agreements pertinent to the products they purchased, they would by Amazon’s logic
    11   be forever until the end of time bound to arbitrate their claims over all future
    12 purchases and products not even existent at that time.

    13         Furthermore, Amazon’s conditions of use and arbitration agreements have
    14   changed over time. Which arbitration agreement would apply to Plaintiff’s use of
    15   her husband’s Alexa device - the agreement in effect the very first time Plaintiff
    16   made a purchase from Amazon’s website, or the agreement in effect the last time
    17   she made a purchase from Amazon’s site before commencing this action, or the
    18   agreement in effect regarding the most purchases she made, or the agreement in
    19   effect as to the last purchase she made before her husband bought and registered his
    20   Alexa device, etc.? Suffice it to say, Amazon’s argument is both illogical and
    21   wholly unworkable. Moreover, it also appears that the Court concurs that that
    22   unrelated purchases Plaintiff may have made with her Amazon account are not
    23   grounds to compel her to arbitrate when the Court decided that the email addresses
    24   of Plaintiff and her husband that Amazon claimed it needed to search for such past
    25   purchases are “irrelevant at this stage of the proceedings.” Dkt. No. 40.
    26         Amazon’s argument cannot be consistent with the intent of the Federal
    27 Arbitration Act, and to the extent the conditions of use have literal application to

    28 Plaintiff’s claims, they should be declared void.


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     1         In California, a contract is void—and any arbitration provision therein
     2         is unenforceable—if the party resisting arbitration can “show that the
               fraud went to the inception or execution of the agreement, so that the
     3         promisor did not voluntarily assent to any part of the purported contract
     4         of which the arbitration clause is a part.” Fraud in the inception may
               exist even if both parties had “ample opportunity to read the [contract]
     5         in [its] entirety,” because the party drafting the terms and conditions of
     6         a contract may do so “in such a way as not to apprise” the other party
               of its intentions.
     7
         DKS, Inc. v. Corp. Bus. Sols., Inc., 675 F. App’x 738, 739 (9th Cir. 2017) (internal
     8
         citations omitted). “The operative inquiry in determining whether a contract was
     9
         created by fraud is whether a reasonable reader of the contract would have
    10
         understood to what the parties were agreeing. Garcia v. Cent. Coast Restaurants,
    11
         Inc., No. 18-cv-02370, 2019 WL 4601538, at *3 (N.D. Cal. Sept. 23, 2019). In the
    12
         instant case, reasonable persons would not and could not know that they agreed to
    13
         arbitrate claims pertaining to products and services they did not purchase and did
    14
         not even exist at the time of their purchases. Id. Neither Plaintiff nor any of the
    15
         putative Class Members voluntarily assented, or would ever have assented, to such
    16
         a term. DKS, 675 F. App’x at 739. Because there was no meeting of the minds as
    17
         to this point, Amazon’s “contract was void at its inception.” Id.13
    18

    19                2.    Plaintiff Also Cannot be Compelled to Arbitrate Based on
                            Equitable Estoppel Principles Under Washington Law.
    20

    21         Amazon’s equitable estoppel argument based on Washington law has been
    22   uniformly rejected, including by a federal Magistrate Judge in the Western District
    23   of Washington just last week. See B.F. v. Amazon, No. 19-cv-00910, Report and
    24
         13
         Plaintiff anticipates that Amazon may try to rely on a sentence in Magistrate Judge
    25
       Peterson’s Report and Recommendation in the Washington B.F. Alexa case stating:
    26 “The parents also agreed to the Amazon’s COU multiple times when making
       purchases through Amazon.” Id. at 6. Any such reliance on this statement would be
    27
       futile for all of the reasons discussed above as well as the fact that this sentence is
    28 unquestionably dicta not pertinent to the issues the court considered and decided in
       that case.
                                                   15
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     1   Recommendation, Dkt. 78, at 16 (Oct. 21, 2019) (collecting cases). “Because
     2   [Amazon] is invoking equitable estoppel against a nonsignatory, only the
     3   [“knowingly exploits”] line of cases is relevant.” InfoSpan, Inc. v. Emirates NBD
     4   Bank PJSC, No. 11-cv-1062, 2012 WL 12960766, at *4 (C.D. Cal. Dec. 7, 2012);
     5 Brown v. Comcast Corp., No. 16-cv-00264, 2016 WL 9109112, at *6 (C.D. Cal.

     6 Aug. 12, 2016). In B.F. v. Amazon, Magistrate Judge Peterson correctly recognized

     7 that “Ninth Circuit precedent [] makes clear that a party does not knowingly exploit

     8 a contract by only bringing statutory or tort claims.” Id. at 15. In fact, “[n]umerous

     9 cases interpreting and applying Washington law have expressly acknowledged the

    10 proposition that equitable estoppel does not apply where the plaintiffs are suing on

    11 statutory grounds, rather than bringing claims under the contract.” Id. at 16. Put

    12 simply, “it [i]s ‘essential in all of these cases that the subject matter of the dispute

    13 [be] intertwined with the contract providing for arbitration.’” Mundi, 555 F.3d at

    14 1046 (citation omitted).

    15         Amazon’s “direct benefit” argument likewise fails. At best, “Plaintiff was a
    16 passive participant in a service managed by [her husband] and [Amazon] for his and

    17 other guest’s benefit.” Brown, 2016 WL 9109112, at *7. Like the Brown plaintiff,

    18 there is no evidence Plaintiff in the instant case knew of the Alexa Terms or inquired

    19 into them. Id. Such passive participation “does not equate … to the status of

    20 knowing exploitation.” Id.      A contrary finding would have the absurd results
    21 recognized in Brown:

    22         Compelling Plaintiff to arbitration on these facts, under the theory of
               equitable estoppel, would lead to absurd results where virtually any
    23
               non-primary user of a service, even a casual visitor to a residence,
    24         would be bound by an agreement without notice. By Defendant’s
               argument, if Plaintiff had resided with Ms. Stewart for only a few days
    25
               and watched television at her residence, Plaintiff would have obtained
    26         a direct benefit of the RSA, binding him to arbitration. By this same
               logic, every time a person uses services such as cable or Internet at
    27
               another person’s residence, no matter how long the use was, he or she
    28         would be bound to the underlying service agreement in perpetuity
               because the use of services would be considered a direct benefit.
                                                   16
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     1 Id. at 8.
     2         Each of the cases relied on by Amazon involved a plaintiff who was equitably

     3 estopped from avoiding arbitration after bringing claims that arose from that

     4 contract. See Townsend v. Quadrant Corp., 268 P.3d 917, 922 (Wash. 2012) (“It is

     5 apparent…the children are attempting to enforce the terms of the PSA and that they

     6 base their claim for breach of warranty on the warranties contained therein.”); Payne,

     7 2018 WL 4489275, at *7 (non-signatory “br[ought] a breach of warranty claim that

     8 rest[ed] on the contract between Payne and Amazon”); cf. Nicosia v. Amazon.com,

     9 Inc., 384 F. Supp. 3d 254, 275 (E.D.N.Y. 2019) (plaintiff represented himself as his

    10 wife so that “he directly benefited from the making of that representation … and

    11 enjoy[ed] the same contractual rights she enjoyed”); PRM Energy Sys., Inc. v.

    12 Primenergy, L.L.C., 592 F.3d 830, 836 (8th Cir. 2010) (affirming arbitration order

    13 where plaintiff “specifically allege[d] coordinated behavior between a signatory and

    14 a nonsignatory”); J.J. Ryan & Sons, Inc. v. Rhone Poulenc Textile, S.A., 863 F.2d

    15 315, 320–21 (4th Cir. 1988) (“charges against a parent company and its subsidiary

    16 [we]re based on the same facts and [we]re inherently inseparable, [so] court may

    17 refer claims against the parent to arbitration even though the parent is not formally

    18 a party to the arbitration agreement”). In short, as in B.F., “Amazon fails to identify

    19 any case where courts have found ‘knowing exploitation’ of a contract in the absence

    20   of [] contract claims.” Dkt. 78, at 19.
    21         Given the total absence of authority supporting Amazon’s argument,
    22   traditional rules of contract construction apply, and Plaintiff cannot be bound by a
    23   contract she never read, agreed to, or relied upon. Comer v. Micor, Inc., 436 F.3d
    24   1098, 1101 (9th Cir. 2006) (citation omitted). The guiding principle of equitable
    25   estoppel – that a party cannot “‘… claim[] the benefits of a contract while
    26   simultaneously attempting to avoid the burdens that contract imposes’” – simply
    27   does not apply here. Id. Plaintiff is bringing statutory and tort claims that are based
    28   in no way on the Alexa-specific conditions of use. Accordingly, as the Ninth Circuit

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     1   has stated more than once, Amazon’s equitable estoppel argument fails. Id.; Mundi,
     2   555 F.3d at 1047; see also Kramer v. Toyota Motor Corp., 705 F.3d 1122, 1132
     3   (9th Cir. 2013) (refusing to compel arbitration based on equitable estoppel where
     4   “[p]laintiffs d[id] not seek to enforce or challenge the terms, duties, or obligations
     5   of the Purchase Agreements”).
     6         Finally, while there is a general presumption favoring arbitration in the FAA,
     7   there is actually a reverse presumption disfavoring arbitration where the party
     8   resisting arbitration is a non-signatory. Wilson v. Willis, 426 S.C. 326, 337-38, 827
     9   S.E.2d 167, 173 (2019). Moreover, the use of equitable estoppel to compel
    10 arbitration is, ultimately, a theory designed to prevent injustice, and it should be

    11 used sparingly. See Hirsch v. Amper Fin. Servs., LLC, 215 N.J. 174, 71 A.3d 849,

    12 852 (2013) (observing equitable estoppel should be used sparingly to compel

    13 arbitration and noting it “is more properly viewed as a shield to prevent injustice

    14 rather than a sword to compel arbitration”). Here, Plaintiff is a nonsignatory and

    15 Amazon cannot overcome the presumption disfavoring arbitration or use equitable

    16 estoppel as a sword to compel Plaintiff to arbitrate her claims.

    17
               C.     The Issue of Arbitrability Here is a Question for this Court – Not
    18                an Arbitrator - to Decide.
    19         Amazon’s assertion that the issue of arbitrability is for the arbitrator to decide
    20 is plainly incorrect for two reasons. First, as discussed above in Argument A.,

    21 Amazon’s Alexa arbitration agreement does not apply, by its own terms, to

    22 Plaintiff’s claim that her voice and communications were illegally recorded when

    23 she did not use her husband’s Alexa device. Second, as also discussed immediately

    24 above, because Plaintiff is a nonsignatory, it must then be for this Court to decide

    25 whether or not an agreement to arbitrate exists. Where, as here, the challenge is

    26   “specifically [to] the validity of the agreement to arbitrate,” that is a matter properly
    27   decided by the Court. Fagerstrom v. Amazon.com, Inc., 141 F. Supp. 3d 1051, 1062
    28   (S.D. Cal. 2015), aff'd sub nom. Wiseley v. Amazon.com, Inc., 709 F. App'x 862 (9th

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     1   Cir. 2017). It would, of course, be a logical fallacy to assume that a contractual term
     2   governs this question when Plaintiff is disputing the validity and applicability of the
     3   contract itself.
     4            Second, even if the contract applies, there is a “general presumption against
     5   the delegation of gateway questions of arbitrability to the arbitrator. The delegation
     6   must be clear and unmistakable.“ Eiess v. USAA Fed. Sav. Bank, No. 19-CV-00108-
     7   EMC, 2019 WL 3997463, at *8 (N.D. Cal. Aug. 23, 2019). Here, the delegation is
     8   far from clear and unmistakable.           Rather, the Amazon agreement adopts by
     9   reference a set of rules which themselves contain a delegation clause. While the
    10   Ninth Circuit has held that such delegation by reference is valid with respect to
    11   sophisticated commercial parties, it specifically limited its holding to those facts.
    12   Brennan v. Opus Bank, 796 F.3d 1125, 1131 (9th Cir. 2015) (“we limit our holding
    13   to the facts of the present case, which do involve an arbitration agreement between
    14   sophisticated parties.” (quotation omitted)). After Brennan, “the majority of district
    15   courts in the Ninth Circuit” have held that delegation by reference is invalid when
    16   applied to unsophisticated parties. Eiess, at *7.14 Because Amazon makes no
    17
         argument that Plaintiff should be regarded as particularly sophisticated, this Court
    18
         should therefore reach the same result and decide the issue of arbitrability.
    19

    20   14
              As the Court explained, there is a good reason for this:
    21            Although incorporation by reference may fairly be deemed a clear and
                  unmistakable delegation where there are sophisticated parties, a
    22
                  different result may obtain where one party is unsophisticated. For an
    23            unsophisticated plaintiff to discover she had agreed to delegate gateway
                  questions of arbitrability, she would need to locate the arbitration rules
    24
                  at issue, find and read the relevant rules governing delegation, and then
    25            understand the importance of a specific rule granting the arbitrator
                  jurisdiction over questions of validity – a question the Supreme Court
    26
                  itself has deemed “ ‘rather arcane.’
    27
         Id., quoting First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 945 (1995).
    28


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     1         D.     It Would be Inequitable to Compel Plaintiff and the Class
     2                Members to Arbitrate Their Claims.

     3         Amazon concedes that principles of fairness are relevant to the issue of
     4   whether arbitration should be compelled. Moreover, the Federal Arbitration Act also
     5   "excepts agreements upon such grounds as exist at law or in equity ….” Amazon’s
     6   contention that it would be inequitable for the Court to deny its effort to force
     7   Plaintiff into arbitration and deny her constitutional right to a trial by jury is nothing
     8   short of comical. Here, to the contrary, there are core principles of equity in favor
     9   of Plaintiff that ought to preclude this Court from forcing Plaintiff and the Class
    10   Members to arbitrate their claims in this suit.
    11         First, courts have declined to abide by arbitration agreements in cases
    12   involving unforeseeable and unreasonable “outrageous acts” by a defendant. Wilson
    13 426 S.C. at 332, 827 S.E.2d at 172. That is precisely the situation here. Amazon’s

    14 surreptitious recording of Plaintiff’s voice and communications was a crime under

    15 California law. It was also despicably outrageous. It is hard to imagine a more

    16 egregious invasion of privacy than illegal electronic eavesdropping of persons in

    17   their own homes, or other homes, including eavesdropping on their most private and
    18   personal communications and even their acts of physical intimacy. Based on such
    19   an equitable principle, Amazon’s outrageous unforeseeable conduct is an additional
    20   basis upon which the Court should void Amazon’s arbitration agreement in addition
    21   to all the legal grounds discussed above.
    22         While there are many additional reasons why it would not be equitable and
    23   fair to force Plaintiff and the Class Members to arbitrate their claims – e.g., the lack
    24   of any meaningful right to appeal arbitration decisions, the smaller awards usually
    25   rendered by arbitrators - the Court need not even reach these.15
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         Similarly, the Court need not even get to Plaintiff’s additional argument that
       Amazon’s arbitration agreement is procedurally and substantively unconscionable
    28 under California law. See Elite Logistics Corp. v. Hanjin Shipping Co., LTD., 589
       Fed. Appx. 817 1171, 1172 (9th Cir. 2014) (Ninth Circuit ruled that the district court
                                                     20
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     1   IV.   CONCLUSION
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               Quite simply, there is no legal or logical or equitable basis to bind a person
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         like Plaintiff to an arbitration agreement when the express terms of the agreement
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         do not apply to the claims at issue. Likewise, no rule of law or principle of logic or
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         equity requires that a person like Plaintiff must arbitrate her claims because of an
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         arbitration agreement she did not read, sign, or otherwise agree to and concerning a
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         product she never purchased. For the above-stated reasons, Plaintiff requests that
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         the Court deny Amazon’s motion to compel arbitration in its entirety.
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         did not err in holding that the arbitration agreement was procedurally and
    18   substantively unconscionable under California law and that, therefore, the motion to
         compel arbitration should be denied); Armendariz v. Found. Health Psychcare
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         Servs., Inc., 24 Cal.4th 83, 99 Cal.Rptr.2d 745, 6 P.3d 669, 689–90
    20   (2000) (articulating “general principles” of unconscionability under California law).
         In California, “the core concern of unconscionability doctrine is the ‘absence of
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         meaningful choice on the part of one of the parties together with contract terms
    22   which are unreasonably favorable to the other party.’ ” Sonic–Calabasas A, Inc. v.
         Moreno, 57 Cal.4th 1109, 163 Cal.Rptr.3d 269 (2013) (quoting Williams v. Walker–
    23
         Thomas Furniture Co., 350 F.2d 445, 449 (D.C.Cir.1965)). Here, neither Plaintiff
    24   nor her husband had any choice regarding the terms of the arbitration agreement
         terms which was a quintessential non-negotiable contract of adhesion. As the Court
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         made clear in Sonic–Calabasas A, Inc., courts may examine the terms of adhesive
    26   arbitration agreements to determine whether they are “unreasonably one-sided.” 57
         Cal.4th at 1133-34, 163 Cal.Rptr.3d 269, 281-82 (2013). Amazon’s arbitration
    27
         agreement here is completely one-sided in its favor. These cases also make clear
    28   that the court is to determine the initial validity of any arbitration agreement.

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     2   DATED: October 28, 2019        Respectfully submitted,
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